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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION



       TRUTEK CORP.,
                                         Case No. 2:21-cv-10312-SJM-RSW
                        Plaintiff,
                                         Hon. Stephen J. Murphy, III
       v.

    BLUEWILLOW BIOLOGICS, INC.,
    ROBIN ROE 1 through 10, gender
    neutral fictitious names, and ABC
    CORPORATION 1 through 10
    (fictitious names).

                   Defendants.




               PLAINTIFF'S OPENING TECHNICAL REPORT


                              Dr. Eward A. Leomo
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                           Dr. Edward A. Lemmo
                                  60 Gilroy Street
                              Staten fshnd, IYY f0309
                                   (718) e67-3426
                                 edlemm@mailcom
                                                                             June27,2O22

     Stanley H. Kremen, Esq.
     4 Lenape Lane
     East Brunswick, NJ 08816

     RE:   Trutek Corp. v. BlueWillow Biologics, lnc.
           Civil case No. 2:21-cv-14312

     Dear Mr. Kremen:

           You engaged my services to investigate allegations of infringement of
     TruteKs U.S. Patent No. 8,163,802 by BlueWillow's Nanobio Protect product that
     was purportedly on sale between January 202A and April 2021.

           My qualifications to perform this investigation are as follows:

           I received a B.S. degree in Chemistry in 1973 from St. Francis College in
     Brooklyn, New York, and both an M.S. and Ph.D. in Nutrition Science in 1977
     and 1979, respectively, from Rutgers University in New Brunswick, New Jersey.
     My resume is attached to this report as Exhibit A.

           As part of my previous professional activities, I           evaluated patent
     disclosures and     claims  both  in an employment   and consulting capacity. I am
     familiar with  patents.  I am familiar with, and I have worked with nanoemulsions,
     the technology upon which Nanobio Protect relies. I am also acquainted with the
     technology upon which Trutek's patent is based. I researched a number of
     scientific articles, and I relied upon reports produced by Dr. Alexei Ermakov and
     Shane Bums. The materials and scientific articles that I reviewed are listed in
     Exhibit B.

            I hereby submit the following report   of my investigation for your review.


                                Very truly yours,


                             EZr"*eAq-,,*)
                                 Edward A. Lemmo
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    Exhibit A - Resume of Dr. Edward A. Lemmo

    Exhibit B - Materials reviewed in preparing this report

    Exhibit C - U.S. Patent No. 8,163,802

    Exhibit D - Copy of website www.bluewillow.com pertaining to Nanobio Protect
                 product as it existed on February 7, 2021.

    Exhibit E - Copy of online information pertaining to Nanobio Protect as it existed
                 on February 10, 2021.




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                           FINDINGS AND CONCLUSIONS

    1.    BlueWillow's Nanobio Protect product is sold in the form of a liquid that is

          administered into a user's nasal passages.

    2.    The claims of Trutek's '802 Patent recite a method for nasally

          administering a formulation and for the formulation itself. The formulation

          of Trutek's '802 Patent is administered in and around a user's nasal

          passages.

    3.    BlueWillow's Nanobio Protect product exhibits an electrostatic charge, and

          once applied, creates an electrostatic field that extends from the skin or

          tissue of the user's nasal passages.

    4.    The formulation of Trutek's '802 Patent claims exhibits an electrostatic

          charge. Once applied, the formulation creates an electrostatic field in the

          vicinity of the user's nasal passages.

    5.    BlueWillow's Nanobio Protect product forms a thin film in the user's nasal

          passages. The thin film adheres to the skin or tissue of the user's nasal

          passages.

    6.    Trutek's '802 Patent claims that its formulation forms a thin film in and

          around the user's nasal passages. The thin film adheres to the skin or

          tissue of the user's nasal passages.

    7.    The formulation of BlueWillow's Nanobio Protect product contains at least

          one cationic agent.     A cationic agent creates a positive electrostatic

          charge. According to BlueWillow's published literature and the Nanobio




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          Protect product packaging, the formulation contains benzalkonium

          chloride, Benzalkonium chloride is a known cationic agent.

    8.    The formulation of BlueWillow's Nanobio Protect product contains at least

          one biocidic agent or biocide. A biocidic is a substance that destroys or

          inhibits the growth or activity of living organisms.          According to

          BlueWillow's published literature and the Nanobio Protect product

          packaging,     the     formulation       contains   benzalkonium    chloride,

          Benzalkonium chloride is a known biocidic agent.

    9.    The    Nanobio       Protect   product      comprises   nano-droplets    that

          electrostatically attract and hold "germs" (i.e., harmful particles).   The

          nano-droplets further contain benzalkonium chloride (a known biocide),

          which renders the "germs" harmless.

    10.   Claims 1 and 2 of the '802 Patent recite a formulation that electrostatically

          attracts and holds harmful particles and renders them harmless.

    11.   The Nanobio Protect product reads upon the '802 Patent's method claim 1

          when it is administered nasally because its formulation forms a thin film

          that it (1) adheres to the skin or tissue of the user's nasal passages; (2)

          electrostatically attracts harmful particulate matter; (3) holds the harmful

          particulate matter; and (4) inactivates the harmful particulate matter, and

          renders it harmless.

    12.   The Nanobio Protect product reads upon claim 2 of the '802 Patent's

          formulation because it (1) is intended to be applied to the skin or tissue of

          the user's nasal passages; (2) forms a thin film that adheres to the skin or




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          tissue of the user's nasal passages; (3) comprises at least one cationic

          agent; (4) comprises at least one biocidic agent; (5) electrostatically

          attracts harmful particulate matter; (6) holds the harmful particulate matter;

          and (7) inactivates the harmful particulate matter, and renders it harmless.

    13.   The Nanobio Protect product reads upon claim 6 of the '802 Patent

          because it contains benzalkonium chloride, which is a cationic agent.

    14.   The Nanobio Protect product reads upon claim 7 of the '802 Patent

          because it contains benzalkonium chloride, which is a biocidic agent.




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                             RESULTS OF INVESTIGATION

    I.    DISCUSSION

          In conducting my investigation, I read and understood:

             the complaint filed on February 10, 2021,

             Trutek's U.S. Patent No. 8,163,802 ("the '802 Patent"),

             a report prepared by Alexei Ermakov on January 11, 2021,

             a report prepared by Shane Burns of Electro-Tech Systems ("ETS") on

              January 18, 2021,

             copies of the portion of the BlueWillow website (www.bluewillow.com)

              relating to the Nanobio Protect product, which was in existence on

              January 7, 2021.

             information on the Nanobio Protect product packaging,

             U.S. Patent Nos. 8,226,965, 8,703,164, 9,131,680, 9,144,606,

              9,492,525, 9,561,271, 10,206,996, 10,525,121, 10,596,251, all of

              which were assigned by the inventors to Nanobio Corporation1, and

             several articles relating to nanoemulsions appearing in prominent

              scientific publications.

    2.    THE '802 PATENT

          The '802 Patent was issued to Ashok Wahi on April 24, 2012, and

    assigned to Plaintiff, Trutek Corp. ("Trutek"). It was allowed to issue from a non-

    provisional patent application filed on May 16, 2009.        The application was

    published by the USPTO on January 7, 2010. The earliest priority date of the


    1
      BlueWillow Biologics, Inc. ("BlueWillow"), a Delaware corporation, is the
    successor to Nanobio.Corporation, a Michigan corporation.


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    '802 Patent Is July 7, 2008. The '802 Patent will expire on March 28, 2030. The

    '802 Patent is attached to this report as Exhibit C.

           The '802 Patent has twenty-three claims.         Claims 1, 2, and 8 are

    independent claims. Claims 3-7 are dependent claims that depend from claim 2.

    Claims 9-23 are dependent claims that depend from claim 8. A dependent claim

    incorporates all of the limitations from its base claim by reference. For example,

    when trying to understand claim 3, one must first understand claim 2, and see

    claim 3 as further limiting claim 2. Independent claims are broad and generic.

    Dependent claims are limiting and specific.         Based on my knowledge and

    experience, all of the claims of the '802 Patent were easy for me to understand

    from a technical standpoint.

           The Complaint asserts that three claims (i.e., claims 1, 2, and 7) are

    infringed. That means that the allegedly infringing product reads on those claims

    (i.e., the product does what the claim recites). In my opinion, claim 6 should be

    added to the list, because the product also reads on claim 6.

           Unfortunately, discovery in this case has not yet revealed all of the

    ingredients in the formulation of the Nanobio Protect product. Thus, I was not

    able to ascertain whether the Nanobio Protect product reads on any of the other

    claims.   Thus, I confined my investigation to comparing the Nanobio Protect

    product with claims 1, 2, 6, and 7 of the '802 Patent. However, should further

    information about the Nanobio Protect product ingredients become available, I

    reserve the privilege of supplementing my report.




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            a.      CLAIM 1

            Claim 1 is a method claim. It does not recite a manufactured product.

     Instead, it recites a method of electrostatically preventing a user from being

     infected by harmful particles by applying a formulation to the skin or tissue of the

     user's nasal passages.        Once applied, the formulation forms a thin film or

     substrate that adheres (or sticks) to the skin or tissue of the user's nasal

     passages.      The adhesion of the thin film can be adjusted by addition of a

     thickener. However, even without a thickener, the thin film will adhere to the skin

     or tissue.

            Once applied, the formulation exhibits a static electrical charge, and it

     creates an electrostatic field in the vicinity of the skin or tissue. The thin film

     attracts oppositely charged harmful particles within the vicinity of the electrostatic

     field and in close proximity to the substrate. The thin film captures and holds the

     particles. An ingredient in the formulation that inactivates the harmful particles

     and renders them harmless.

            b.      CLAIM 2

            Claim 2 is a claim for a formulation intended to be applied to the skin or

     tissue of a user's nasal passages. The ingredients of the formulation are recited

     generically,   and    their   concentrations   are   adjusted   to   provide   specific

     characteristics.     Among the ingredients of the formulation are at least one

     cationic agent and at least one biocidic agent. However, additional ingredients

     are not excluded.




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            Once applied, the formulation possesses a static electric charge, which

     creates an electrostatic field in the vicinity of the user's nasal passages. When

     applied, the formulation forms a statically charged thin film. The cationic agent in

     the thin film produces a positively charged electrostatic field in the vicinity of the

     nasal passages.        Negatively charged harmful particles (including living

     microorganisms) are electrostatically attracted to the thin film. Ingredients in the

     formulation adjust the adhesion of the thin film so as to capture and hold the

     harmful particles. Ingredients in the formulation adjust the cohesion of the thin

     film to provide adequate impermeability. The biocidic agent in the formulation

     functions to inactivate or inhibit the captured harmful particles so as to render

     them harmless.

            c.     CLAIM 6

            Claim 6 is a dependent claim, which depends from claim 2. Thus, claim 6

     recites a formulation having all of the same characteristics and limitations of

     claim 2. However, it is further limited by reciting that benzalkonium chloride is

     among the cationic agents in the formulation. Benzalkonium chloride is a well

     known cationic agent. It produces a positively charged electrostatic field.

            d.     CLAIM 7

            Claim 7 is a dependent claim, which depends from claim 2. Thus, claim 7

     recites a formulation having all of the same characteristics and limitations of

     claim 2. However, it is further limited by reciting that benzalkonium chloride is

     among the biocidic agents in the formulation. Benzalkonium chloride is a well

     known biocide.




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     3.    NANOEMULSION TECHNOLOGY

           Based on my education and experience, I am very familiar with technology

     associated with, inter alia, nanoemulsions, surfactants, adjuvants, electrostatic

     charges, cationic agents, biocidic agents, biocides, and preservatives.

           Nanoemulsions are oil-in-water emulsions that are stabilized by

     emulsifying agents. They are also referred to as ultrafine emulsions. They exist

     as extremely small sub-micron sized droplets. Nanoemulsions are widely used in

     applications   such   as   food   products,   cosmetics,   and    pharmaceuticals.

     Nanoemulsions may be engineered to improve the biological accessibility of

     bioactive molecules that are either entombed within them or maybe consumed

     alongside them. Nanoemulsions exhibit remarkable droplet stability due to their

     nanoscopic dimensions. By their very nature, nanoemulsion droplets exhibit an

     electrostatic charge which causes them to repel one-another. If the nanodroplets

     are not electrostatically charged, they would coalesce into a single liquid mass.

           4.       THE NANOBIO PROTECT PRODUCT




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            Nanobio Protect was manufactured and sold as a "nasal antiseptic

     solution" by BlueWillow.       I understand that the product was discontinued

     sometime around April 2021, and that It is no longer being sold. The front of the

     product packaging is shown in the above photograph. As may be observed, the

     product contains "benzalkonium chloride (0.13%) antiseptic." The product claims

     to "kill 99.9% of germs." As an added claim, it "persists on skin for 4+ hours."

     On the rear of the product packaging, benzalkonium chloride is listed as the

     active ingredient.

            Trutek, the owner of the '802 Patent, manufactured and sold a product

     named NasalGuard Airborne Particle Blocker, both the formulation of which and

     the nasal administration of which were protected by the '802 Patent.

     BlueWillow's Nanobio Protect product was sold in the same online and retail

     venues as Trutek's NasalGuard product. They competed with one another.

            On January 11, 2021, Dr. Alexei Ermakov prepared a report describing his

     experimentation that compared electrostatic charges produced on paper

     substrates by Nanobio Protect, NasalGuard Misting Spray, and NasalGuard

     Airborne Particle Blocker products. Dr. Ermakov's report is separately produced

     for discovery. I reviewed this report and found Dr. Ermakov's methodology and

     conclusions to be sound. Dr. Ermakov concluded that all products exhibited an

     electrostatic charge of the same order of magnitude. I relied on Dr. Ermakov's

     work in forming my opinions.

            On January 18, 2021, Shane Burns of Electro-Tech Systems (ETS)

     prepared a report describing his experimentation that compared charges




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     produced on pig skin substrates by Nanobio Protect and NasalGuard Misting

     Spray products. The use of pig skin is more predictive than paper regarding how

     the product would behave on human skin. Notwithstanding, Mr. Burns reached

     the same conclusion as Dr. Ermakov. The electrostatic charges exhibited by

     both products were of the same order of magnitude. Mr. Burns' (ETS) report is

     separately produced for discovery. I reviewed this report and found Mr. Burns'

     methodology and conclusions to be sound. I relied on Mr. Burns' work in forming

     my opinions.

              Copies of a portion of the BlueWillow website (www.bluewillow.com) from

     February 7, 2021 relating to the Nanobio Protect product are attached to this

     report as Exhibits D and E. On Page 2 of Exhibit D, the following statements are

     made by BlueWillow:

              The unique effectiveness of NanoBio Protect is derived from
              BlueWillow's patented nanotechnology. NanoBio Protect places
              the BZK antiseptic2 on the surface of nano-droplets, which results in
              at least four key advantages:

              1. The nano-droplets are attracted to germs by electro-kinetic
                 charge and present the BZK in such a way to enable killing of
                 germs on contact.
              2. The droplets persist on skin for 4 or more hours, enabling long
                 lasting effectiveness.
              3. The droplets significantly hydrate skin to avoid dryness and
                 cracking that can allow germs in.
              4. And lastly, when bound to nano droplets, BZK is non-irritating to
                 the skin.

              NanoBio Protect kills germs via membrane disruption. Nanobio
              Protect is comprised of positively charged droplets that are 300-600
              nm in size. the droplets are attracted to negatively charged germs
              in the skin.



     2
         "BZK" is BlueWillow's abbreviation for benzalkonium chloride.


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            Here, the Nanobio Protect product is a liquid nanoemulsion consisting of

     nano-droplets that range between 300-600 nanometers in size (Id.).            These

     droplets are extremely small. A nanometer is one-billionth of a meter. When

     administered to a user's nostrils, the product forms a thin film that adheres to the

     skin or tissue of his nasal passages. If that were not the case, the liquid would

     instantly drip out of the user's nose. Instead, "the droplets persist on the skin for

     four or more hours." Further, the "droplets significantly hydrate skin to avoid

     dryness and cracking that can allow germs in."          Thus the product exhibits

     impermeability.

            The product is cationic (i.e., positively charged).           Most harmful

     microorganisms are anionic (i.e., negatively charged). The formulation contains

     benzalkonium chloride (a cationic agent) as its active ingredient. The positively

     charged thin film of nano-droplets inside the user's nostrils electrostatically

     attracts the negatively charged microorganisms. According to BlueWillow, the

     germs are "bound" to the nano-droplets. Therefore, they are held in place by the

     formulation. Finally, the benzalkonium chloride (a biocidic agent) "kills germs via

     membrane disruption."

            Therefore, the Nanobio Protect product reads upon the '802 Patent's

     method claim 1 when it is administered nasally because its formulation forms a

     thin film that (1) adheres to the skin or tissue of the user's nasal passages; (2)

     electrostatically attracts harmful particulate matter; (3) holds the harmful

     particulate matter; and (4) inactivates the harmful particulate matter, and renders

     it harmless.




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            Further, the Nanobio Protect product reads upon claim 2 of the '802

     Patent's formulation because it (1) is intended to be applied to the skin or tissue

     of the user's nasal passages; (2) forms a thin film that adheres to the skin or

     tissue of the user's nasal passages; (3) comprises at least one cationic agent; (4)

     comprises at least one biocidic agent; (5) electrostatically attracts harmful

     particulate matter; (6) holds the harmful particulate matter; and (7) inactivates the

     harmful particulate matter, and renders it harmless.

            Finally, the Nanobio Protect product reads upon both claims 6 and 7

     because its formulation contains benzalkonium chloride, which is both a cationic

     agent and a biocidic agent.




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                                          SUMMARY

              As a result of my investigation, I concluded that the Nanobio Protect Nasal

      Antiseptic Solution marketed and sold by BlueWillow reads on claims 1, 2, 6, and

      7 of the '802 Patent. Moreover, that product performed the same functions and

      competed with TruteKs NasalGuard Aihome Particle Blocker, which is protected

      by   the'802 Patent.



                                                Respecttully submitted,




                                                                  a.il
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                          EXHIBIT A
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                               Edward A. Lemmo, Ph.D.
                                     60 Gilroy Street
                             Staten Island, New York 10309
                                     (917) 837-1470
                              Email: edlemmo@gmail.com


     EDUCATION

     Ph.D. Nutrition Science, Rutgers University, New Brunswick, NJ (1979)
     M.S. Nutrition Science, Rutgers University, New Brunswick, NJ (1977)
     B.S. Chemistry, St. Francis College, Brooklyn, NY (1973)


     EXECUTIVE TRAINING COURSES

     Executive Leadership Program, Princeton, NJ
     Time Management Skills, Teaneck, NJ
     Media Communication Skills, New York City, NY


     EMPLOYMENT EXPERIENCE

     2007-Present       Consumer Healthcare Corporate Consultant
                        Self-employed Consultant - Consumer Healthcare

     2005-2007          BioBalance Corporation, New York, NY
                        Vice President, Product Development

                        Person primarily responsible for investigating its probiotic
                        product PROBACTRIX™ to be used for treating pouchitis
                        and other gastrointestinal disorders. Probiotic products are
                        an optional alternative to the probiotic Lactobacillus
                        acidophilus. In charge of all scientific product evaluation
                        conducted at company headquarters.

     1999-2005          Wyeth Consumer Healthcare, Leonia and Madison, NJ
                        Vice President, Product Development

                        Division of American Home Products
                        Formerly Whitehall-Robbins Consumer Healthcare

                        Managed product development for SOLGAR®, and
                        contributed towards CENTRUM®, and CALTRATE®, brands.
                        Responsible role in scientific affairs and new business
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                      development opportunities.         Further, responsible    for
                      evaluation of acquisition of new business entities.

     1992-1999        General Nutrition Centers, Inc., Pittsburg, PA
                      Director, Nutritional Sciences

                      Analyzed safety of amino acid products for presentation to
                      the FDA and FTC and other U.S. government agencies.
                      Evaluated and made recommendations regarding nutritional
                      and homeopathic products. Performed quality assurance
                      activities related to label claims and product safety.
                      Responsible for introduction of the new PRO-
                      PERFORMANCE sports nutrition product line into the GNC
                      retail marketplace.

                      In 1993, for Quigley Corporation, I evaluated the safety and
                      efficacy of Cold-EEZE® zinc lozenges to be used to shorten
                      a common cold as a possible line of homeopathic products
                      exclusively marketed by GNC.

     1989-1992        Pall Biomedical Products, Glen Cove, NY
                      Marketing Manager

                      Responsible for marketing activities of Intravenous filtration
                      devices, and Heat and Moisture exchange respiratory
                      products. Wrote all scientific evaluation documents related
                      to Heat and Moisture Exchange respiratory product for
                      presentation to anesthesiologists regarding prevention of
                      injury from patients breathing cold dry gas during surgery.
                      Developed scientific presentations, videos, and product
                      marketing material for use by healthcare professionals.

     1984-1989        ICN Pharmaceuticals, Costa Mesa, CA
                      Director of Nutritional Technology

                      Faraday Laboratories Division

                      Product development of nutritional supplements for use by
                      chiropractic and alternative health practitioners throughout
                      the United States and Canada. Product brands included
                      Nutridyn® and Sivad Bioresearch®. Responsible for new
                      product development, wrote technical literature, and
                      prepared and delivered scientific educational presentations
                      to practitioners at chiropractic colleges and chiropractic
                      meetings.




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     1976-1977        Pharmacia Laboratories, Piscataway, NJ
                      Clinical Trials Coordinator

                      Assisted veterinarian in analysis of equine blood samples.
                      Performed evaluation analysis of HEALON® products
                      comprising hyaluronic acid, and their effect on tissues.

                      CORPORATE CONSULTING EXPERIENCE

     2011             Matrixx Initiatives, Inc., Princeton, NJ
                      Scientific Affairs Consultant

                      Performed research associated with ZICAM® oral zinc
                      product. Provided guidance for coordinating research trials.
                      Managed human efficacy clinical trials.


     1998-1999        Church & Dwight, Princeton, NJ
                      Scientific Advisor

                      Evaluated consumer healthcare products. Explored and
                      determined market for magnesium based organo-metalic
                      agents for use in dietary supplements.

     1998-1999        IVC Industries, Freehold, NJ

                      IVC is a contract manufacturer of generic vitamins.
                      Responsible for new product development. Assisted the
                      marketing staff with product label claims.

     1996             Nutrition 21, Purchase, NY

                      Company is a supplier to GNC. Performed consulting work
                      regarding their products.

     1996             Nutramerica, Lincoln Park, NJ

                      Technical advisor for the development of a dietary
                      supplement product line.




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     CORPORATE CONSULTING EXPERIENCE (continued)

     1996             American Vitamin, Ramsey, NJ

                      Company is a contract manufacturer. Performed new
                      product development and assistance with evaluation of raw
                      materials from India.


     COLLEGE TEACHING EXPERIENCE

     2013-2018        Touro College, New York City, NY

                      Taught in nursing school.Courses included pathophysiology,
                      genetics, anatomy and physiology and tutored microbiology

     2008-2014        University of Medicine & Dentistry of New Jersey
                      (UMDNJ), Newark, NJ

                      Taught innutrition program. Courses includedgeneral
                      chemistry, anatomy and physiology, biochemistry, and
                      microbiology.

     1977 and         New York University, New York, NY

     2000-2003        Taught in graduate nutrition program, vitamin and mineral
                      metabolism

     2011-2012        Cedar Crest College, Allentown, PA

                      Taught courses in nutritional biochemistry and metabolism.

     1984-1989        University of New Haven, West Haven, CT

                      Taught graduate level course in vitamin and mineral
     nutrition.

     1974-1984        Brooklyn College, CUNY, Brooklyn, NY
                      Assistant Professor

                      Taught nutrition courses to pre-medical and nutrition
                      students.

     1973-1977        Rutgers University, Piscataway, NJ

                      Taught general biology lab and mineral metabolism.



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                          EXHIBIT B
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                MATERIALS REVIEWED FOR REPORT PREPARATION

     1. the complaint filed on February 10, 2021,

     2. Trutek's U.S. Patent No. 8,163,802 ("the '802 Patent"),

     3. a report prepared by Alexei Ermakov on January 11, 2021,

     4. a report prepared by Shane Burns of Electro-Tech Systems ("ETS") on

        January 18, 2021,

     5. copies of the portion of the BlueWillow website (www.bluewillow.com) relating

        to the Nanobio Protect product, which was in existence on January 7, 2021.

     6. information on the Nanobio Protect product packaging,

     7. U.S. Patent Nos. 5,618,840, 5,853,763, 5,951,970, 7,314,624, 8,226,965,

        8,703,164,   9,131,680,   9,144,606,    9,492,525,   9,561,271,   10,206,996,

        10,525,121, and 10,596,251.

     8. U.S. Patent Application Publication No. 2007/0036831 A1.

     9. Schulman, J.H., et.al., "Mechanism of Formation and Structure of Micro

        Emulsions by Elecron Microscopy," J. Phys. Chem. 1959, 63, 10, 1677-1680,

        Publication Date: October 1, 1959.

     10. Peek, L.J., et.al., "Nanotechnology in Vaccine Delivery," Advanced Drug

        Delivery Reviews 60 (2008) 915-928, published February 2008

     11. Rosano, H.I., et.al., "Microemulsions: A commentary on their preparation," J.

        Soc. Cosmet. Chem., 39, 201-209, (May/June 1988).

     12. Martins, S., et.al., "Lipid-based colloidal carriers for peptide and protein

        delivery – liposomes versus lipid nanoparticles," Int'l Jour of Nanomedicine,

        2007:2(4) 595-607.
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     13. Yaghmur, A., et.al., "Phase behavior of microemulsions based on food-grade

        nonionic surfactants: effect of polyols and short-chain alcohols,"
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                          EXHIBIT C
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                                                                                                              US008163 802B2


   c12)   United States Patent                                                          (IO)    Patent No.:                     US 8,163,802 B2
          Wahi                                                                          (45)    Date of Patent:                            Apr. 24, 2012

   (54)   ELECTROSTATICALLY CHARGED                                                 (56)                        References Cited
          MULTI-ACTING NASAL APPLICATION,
          PRODUCT, AND METHOD                                                                           U.S. PATENT DOCUMENTS
                                                                                          1,071,015     A        8/1913     Adler
   (75)   Inventor:     Ashok Wahi, Hillsborough, NJ (US)                                 2,237,954     A        4/1941     Wilson
                                                                                          2,433,565     A       12/1947     Korman
                                                                                          2,751,906     A       10/1953     Irvine
   (73)   Assignee: Trutek Corp., Hillsborough, NJ (US)
                                                                                          2,777,442     A        1/1957     Zelano
                                                                                          3,145,711     A        8/1964     Beber
   ( *)   Notice:       Subject to any disclaimer, the term ofthis                        3,513,839     A        5/1970     Vacante
                        patent is extended or adjusted under 35                           4,030,491     A        6/1977     Mattila
                        U.S.C. 154(b) by 316 days.                                        4,052,983     A       10/1977     Bovender
                                                                                          4,267,831     A        5/1981     Aguilar
                                                                                          4,401,117     A        8/1983     Gershuny
   (21)   Appl. No.: 12/467,271                                                           4,789,504     A       12/1988     Ohmori eta!.
                                                                                          4,874,659     A       10/1989     Ando eta!.
   (22)   Filed:        May 16, 2009                                                      5,468,488     A       11/1995     Wahi
                                                                                          5,674,481     A       10/1997     Wahi
                                                                                          6,844,005     B2       1/2005     Wahi
   (65)                     Prior Publication Data                                    2003/0223934      Al      12/2003     Wahi
          US 2010/0004337 Al               Jan. 7, 2010                             Primary Examiner - Raymond Henley, III
                                                                                    (74) Attorney, Agent, or Firm - Stanley H. Kremen
                    Related U.S. Application Data
                                                                                    (57)                           ABSTRACT
   (60)   Provisional application No. 61/085,855, filed on Aug.
          3, 2008, provisional application No. 61/078,478, filed                    A product to reduce and method of reducing the risk of
          on Jul. 7, 2008.                                                          inhalation of harmful substances by applying a formulation
                                                                                    composition to a substrate or the skin in close proximity of
   (51)   Int. Cl.                                                                  one or more nostrils. This formulation, when applied creates
                                                                                    an electrostatic field having a charge. The electrostatic field
          A61K 31/198                    (2006.01)
                                                                                    attracts airborne particulates of opposite charge to the sub-
          A61K 31/14                     (2006.01)
                                                                                    strate that are in close proximity to the substrate close to the
   (52)   U.S. Cl. ........................................ 514/564; 514/643        skin and a biocidic agent renders microorganisms coming in
   (58)   Field of Classification Search .................. 514/564,                contact the substrate or skin less harmful.
                                                       514/643; 128/206.11
          See application file for complete search history.                                                23 Claims, No Drawings
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                                                          US 8,163,802 B2
                                  1                                                                        2
           ELECTROSTATICALLY CHARGED                                        contaminants to the nasal passages by capturing the contami-
          MULTI-ACTING NASAL APPLICATION,                                   nants and keeping them from entering the body. In the present
               PRODUCT, AND METHOD                                          invention, these electrostatically charged nasal application
                                                                            products capture and hold the contaminants including
              CROSS REFERENCE TO RELATED                               5    viruses, bacteria, and other harmful microorganisms or toxic
                     APPLICATIONS                                           particulates, inactivate them dermally outside the body and
                                                                            render them harmless.
   a) The Present application is the non-provisional counterpart
      of my pending U.S. Provisional Patent Application Ser. No.                     BACKGROUND OF THE INVENTION
      61/085,555 (the '555 application) filed on Aug. 3, 2008          10
      which is incorporated by reference in its entirety herein.               The nasal passages and nasal mucosa serve as body entry
      The Present application claims the benefit of and priority to         points for a wide variety of noxious and toxic substances. The
      said '555 application.                                                body's immune system responds with certain relatively harm-
   b) The Present application is also the non-provisional coun-             less irritants to the nasal passages and airways with reflex
      terpart of my pending U.S. Provisional Patent Application        15
                                                                            responses such as coughing and sneezing. This merely re-
      Ser. No. 61/078,478 (the '478 application) filed on Jul. 7,
                                                                            introduces the irritants into the environment. However, when
      2008 which is incorporated by reference in its entirety
                                                                            the irritant comprises microorganisms, especially those that
      herein. The Present application claims the benefit of and
      priority to said '478 application.                                    reproduce within the body and that are transmitted by cough-
   c) The Present application is likewise related to my prior U.S.     20
                                                                            ing and sneezing, others may become infected. When a per-
      Provisional Patent Application Ser. No. 60/570,103 (the               son feels a cough or a sneeze coming on, he merely covers his
      '103 application) filed on May 12, 2004 (now expired), and            nose and mouth. However, if that person is contagious, this
      which is incorporated by reference in its entirety herein.            action does little to prevent others from also becoming
      The '4 78 application provides a virtually identical disclo-          infected. Furthermore, the use of a tissue or handkerchief for
      sure to the '103 application.                                    25   this purpose is extremely inefficient. This limits the protec-
   d) Furthermore, the Present application is related to my pend-           tion of an individual from becoming infected or infecting
      ing U.S. Provisional Application Ser. No. 61/078,472 filed            others.
      on Jul. 7, 2008, which is incorporated by reference in its               Other means of dealing with preventing inhalation of
      entirety herein.                                                      harmful or irritating substances or of infections agents
   e) The Present application is also related to my prior U.S.         30   include wearing facemasks to filter out these irritants. An
      Provisional Patent Application Ser. No. 60/598,462 filed              example of this is the simple dust mask, typically found in the
      on Aug. 3, 2004 (now expired), and which is incorporated              hardware store or medical supply store. However, even these
      by reference in its entirety herein.                                  are inadequate and inefficient. In many localities, during flu
   f) The Present application is additionally related to my U.S.            season, one can see a large number of people wearing these
      Pat. No. 5,468,488, entitled "ELECTROSTATICALLY                  35   dust masks in public places. The dust masks are now known
      CHARGED NASAL APPLICATION PRODUCT AND                                 to be ineffective. Another example of this preventative
      METHOD" issued on Nov. 21, 1995. This patent is incor-                method is the gas mask, which is more efficient than the dust
      porated by reference in its entirety herein.                          mask. Yet, even gas masks are not highly efficient with respect
   g) The Present application is further related to my U.S. Pat.            to microscopic and sub-microscopic microorganisms. Fur-
      No. 5,674,481, entitled "ELECTROSTATICALLY                       40   thermore, they are extremely cumbersome and cannot gener-
      CHARGED NASAL TOPICAL APPLICATION PROD-                               ally be used during normal day-to-day activities.
      UCT" issued on Oct. 7, 1997. This patent is incorporated                 Patents such as U.S. Pat. No. 6,844,005 describe electro-
      by reference in its entirety herein.                                  statically charged compositions that may be applied exter-
   h) The Present application is moreover related to my U.S. Pat.           nally in the vicinity of the nostril and attract oppositely
      No. 6,844,005 entitled "ELECTROSTATICALLY                        45   charged materials that would otherwise be inhaled. However,
      CHARGED NASAL APPLICATION PRODUCT WITH                                those compositions simply create an electrostatic field that
      INCREASED STRENGTH" issued on Jan. 18, 2005. This                     helps to filter out oppositely charged materials. While this
      patent is incorporated by reference in its entirety herein.           action may offer suitable protection against particles that are
   i) Finally, this application is furthermore related to US Non-           inhaled passively, they suffer from the fact that they cannot
      Provisional Utility patent application Ser. No. 10/082,978       50   completely deal with particulates that have their own internal
      entitled "ELECTROSTATICALLY CHARGED NASAL                             means of overcoming the electrostatic forces, such as micro-
      APPLICATION PRODUCT WITH INCREASED                                    organisms that are motile within the air stream. Furthermore,
      STRENGTH" filed on Feb. 25, 2002. This patent applica-                actions by the person having those electrostatic compositions
      tion is incorporated by reference in its entirety herein.             in the vicinity of the nostrils can sufficiently displace the
                                                                       55   offending particles or organisms, especially in such instances
                  FIELD OF THE INVENTION                                    as blowing or wiping the nose, so that particles that were held
                                                                            captive by the former compositions could become dislodged,
     The Present Invention relates to the field of protective               again set free, and be inhaled.
   compositions against assault by various irritants and noxious
   substances as well as against assault by assorted microorgan-       60                OBJECTS OF THE INVENTION
   isms that typically gain entry into the body through the airway
   and/or nasal mucosa. The Present Invention also relates to                 It is therefore an object of the invention to provide a com-
   anti-viral, anti-bacterial, and anti-microbial products and                    position that can be readily applied to the exterior region
   methods that involve the use of products heretofore devel-                     around the nostril and/or slightly inside the edge of the
   oped for restricting the flow of airborne contaminants into the     65         nostril or near the vicinity of the source of release with
   nasal passages by creating an electrostatic field in an area near              method and compositions capable of capturing particu-
   about the nasal passages. This reduced the inflow of airborne                  lates and microorganisms.
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                                   3                                                                                  4
     It is another object of the invention to have the capability to          tain viral particles and/or bacteria. This is a means of trans-
         hold it for a duration from being dislodged in to the air            mission of several diseases by inhaled airborne particles as
         stream again.                                                        follows:
     It is a further object of the invention to provide a compo-
         sition that can be applied near the vicinity of the source      5
         of release or to the area around the exterior of and/or
                                                                              VIRAL DISEASES                     BACTERIAL DISEASES
         slightly inside the edge of the nostril that will inactivate,        (virus type in brackets)           (bacterial name in brackets)
         kill, or render harmless a microorganism, which has
         been captured and held by the composition.                         Chickenpox (Varicella)              Whooping cough (Bordetella pertussis)
     It is yet another object of the invention to provide a com-         10 Flu (Influenza)                     Meningitis (Neisseria species)
                                                                            Measles (Rubeola)                   Diphtheria ( Corynebacterium
         position that can be applied to a filter substrate for             German measles (Rubella)            diphtheriae)
         improving the substrates ability to trap and hold particu-         Mumps (Mumps)                       Pnewnonia (Mycaplasma pneumoniae,
         lates and microorganisms and to simultaneously inacti-             Smallpox (Variola)                  Streptococcus species)
                                                                            SARS (Human Corona)                 Tuberculosis (Mycobacterium
         vate, kill, or render harmless the microorganisms so
                                                                                                                tuberculosis)
         trapped. Such filter substrate could be placed in the close     15                                     Anthrax (Anthracsis bacterium)
         proximity of the skin near the path of inhalation, near the
         source of release of such particulates while the inhaler is
         at a distance or both.                                                  Diseases caused by environmental particulates include, but
     It is still anotherobject of the invention to provide a method                are not limited to the following:
         of prophylactically preventing or of substantially reduc-       20
         ing the risk of infection by an infectious agent without
         the utilization of ingested antiviral and/or antibacterial
                                                                              ENVIRONMENTAL
         agents.                                                              PARTICULATE DISEASES                    SOURCE
     Yet other objects of the invention will be apparent to those
         of ordinary skill once having benefit of the instant dis-       25 Psittacosis ( Chlamydia psittaci)        Dried, powdery droppings from
                                                                                                                     infected birds (parrots, pigeons, etc.)
         closure. In all of the foregoing objects, the deficiencies           Legionnaire's disease (Legionella      Droplets from air-conditioning
         of the previously mentioned prior art are overcome by                pneumophila)                           systems, water storage tanks, etc.,
         the teachings of this invention.                                                                            where the bacteriwn grows.
                                                                            Acute allergic alveolitis (various       FW1gal or actinomycete spores from
                                                                         30 fungal and actinomycete spores)          decomposing organic matter
               SUMMARY OF THE INVENTION
                                                                                                                     (composts, grain stores, hay, etc.)
                                                                            Aspergillosis (Aspergillus               Fungal spores inhaled from
      These and other objects of the invention are unexpectedly             fumigatus, A.flavus, A. niger)           decomposing organic matter.
   achieved by an electro statically charged composition having              Histoplasmosis (Histoplasma             Spores of the fungus, in old,
                                                                             capsulatum)                             weathered bat or bird droppings.
   at least one polymeric quaternary compound in an aqueous or
                                                                             Coccidioidomycosis ( Coccidioides       Spores in air-blown dust in desert
   non-aqueous based formulation, which when applied to a                35
                                                                            immitis)                                 regions (Central, South and North
   surface, creates an electrostatic field such that oppositely                                                      America) where the fungus grows in
   charged airborne particulates (including microorganisms) in                                                       the soil.
   the vicinity of the surface are electro statically trapped, held
   thereto and one or more of the microorganisms so captured is                  To accomplish the present invention, a formulation having
   neutralized, killed, inactivated, and rendered harmless.              40
                                                                              at least one polyquaternary ammonium compound is pre-
                                                                              pared, such compounds, alone or together capable of creating
       DETAILED DESCRIPTION OF THE INVENTION
                                                                              an electrostatic field on and around a surface to which it is
      The present invention relates to anti-microorganism, anti-              applied, including surfaces such as skin, textile (woven and
   viral/anti-bacterial products and methods that involve the use        45   non-woven), and hard surfaces, such as floors, walls, wood,
   of products that restrict the flow of airborne contaminants into           metal, plastic, etc. The formulation is generally aqueous
   the nasal passages by creating an electrostatic field in an area           based, but may include non-aqueous solvents used which are
   near about the nasal passages. Additionally, in the present                compatible with the other formulation components and the
   invention, these electrostatically charged nasal application               application surface to which it is applied. Preferably, the
   products are used to hold the contaminants including micro-           50   formulation is an aqueous formulation. In addition to the
   organisms, viruses, bacteria, and other harmful or toxic par-              polyquaternary ammonium compound, the composition
   ticulate outside the body and render them harmless.                        includes at least. Furthermore, the composition may contain,
      Emergencies of Anthrax lead to the concept of avoidance                 but is not required to contain various thickeners, gellants,
   of inhaling airborne microscopic and sub-microscopic con-                  fragrances, colorants, emollients, humectants, and generally
   taminants. It is the intention of the Present Invention to filter     55   other suitable components that are compatible with the end
   and render harmless materials such as anthrax spores, human                use application and the other components of the formulations.
   corona virus, smallpox virus, influenza virus, avian flu virus,            Thus, a composition of the invention that is intended to be
   swine flu virus, rhino virus, and other biological or chemical             applied to a filter substrate that is perhaps used as a mask with
   elements/toxins/irritants, and the like, prior to their entering           an additional liner between a user and the filter substrate may
   the nasal passages.                                                   60   utilize materials that would not be compatible with direct
      Airborne microorganisms are a major cause of respiratory                contact with skin, although it is preferable that all of the
   ailments in humans, causing allergies, asthma, and patho-                  components are compatible with direct application to the skin
   genic infections of the respiratory tract. Airborne fungal                 as a means of limiting reaction due to inadvertent contact
   spores are also important agents that spread diseases. Respi-              between the composition and the skin.
   ratory diseases cause many fatalities and are a cause of great        65      A formulation of the invention comprises:
   concern. During a sneeze, millions of tiny droplets of water                  water,
   and mucus are expelled at a high velocity. The droplets con-                  at least one quaternary thickener,
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                                 5                                                                               6
      a preservative,                                                                                 TABLE I-continued
      a conditioner,
      an emulsifier,                                                             Ingredient                     Percent Range      Function
      a biocidic agent, and
      a neutralizing agent added to adjust and achieve a pH in the     5
                                                                                 Stearyl Alcohol                      1%-3%        Thickener
         range of 5.0 to 6.8.                                                    Cetyl Alcohol                  0.25%-1%           Thickener
      It may further comprise without limitation a combination                   Ceteareth - 20,                      1%-2%        Emulsifier
   of the following:                                                             PEG - 40 Stearate,
      a surfactant,
                                                                       10        Cetearyl Alcohol
      a thickener,
                                                                                 Water,                             0.5%-1.5%      Conditioner
      an emollient,
                                                                                 Hydrolyzed Algin
      a humectant, and
                                                                                 Hydrolized Soy Protein         0.25%-1%           Conditioner
      a binder.
      In an exemplary embodiment of such a formulation, a              15
   quaternary thickener may comprise without limitation, at
   least one of the following:
                                                                                                            TABLE2
      Polyquaternium-10
      Polyquaternium-22                                                     Ingredient                    Percent Range Function
      Polyquaternium-67
                                                                       20 Water                             72%-88%      Solvent, Moisturizer
      Polyquaternium-70                                                   Phenoxyethanol                      1%         Preservative
      Polyquaternium-72                                                   Methylparaben,
      Polyquaternium-88                                                   Propylparaben,
      Cocodimonium Hydroxypropyl Hydrolyzed Keratin                       Butylparaben,
                                                                          Ethylparaben,
      Hydroxypropyltrimonium Wheat Protein                             25 Isobutylparaben
      Benzalkonium Chloride may also serve the same function,             Lysine HCL                           1%        Conditioner, Biocide
   but it is also a cationic agent as well as a biocide. Another          Polyquatemium - 67                 3%-6%       Conditioner, Quaternary
   biocide that may be used is Lysine HCL.                                Nonoxynol - 10                     2%-4%       Surfactant
                                                                          Cocodimoniwn                     0.5%-2%       Conditioner, Quaternary
      In an exemplary embodiment of such a formulation, an                Hydroxypropyl
   emulsifier may comprise without limitation, at least one of the     30 Hydrolyzed Keratin
   following:                                                             Polyquatemium - 72               0.5%-2%       Conditioner, Quaternary
      Cetyl Alcohol (which can also serve as a thickener)                 Polyquatemium - 88                 1%-4%       Conditioner, Quaternary
                                                                          Cetearyl Alcohol,                  1%-4%       Emulsifier
      Cetearyl Alcohol                                                    Glyceryl Stearate
      Glyceryl Stearate                                                     Emulsifier,
      Ceteareth-20                                                     35
                                                                          PEG - 40 Stearate,
      PEG-40 Stearate                                                     Ceteareth - 20
                                                                          Cetearyl Alcohol,                  0.5%        Emulsifier
      Dicetyl Phosphate                                                   Dicetyl Phosphate,
      Ceteth-10 Phosphate                                                 Ceteth - 10 Phosphate
      In an exemplary embodiment of such a formulation, the               Benzalkonium Chloride           0.25%-1%       Cationic, Quaternary, Biocide
   emollient may be Isocetyl Behenate without limitation. The             Hydroxypropyltrimonium              1%         Conditioner, Quaternary
                                                                       40 Wheat Protein
   thickener may be Cetyl Alcohol or Stearyl Alcohol without              Sodium Hydroxide                0.01 %-0.05% Neutralizing Agent
   limitation.
      In an exemplary embodiment of such a formulation, a
   preservative may comprise without limitation, at least one of
   the following:                                                                                           TABLE3
                                                                       45
      Phenoxyethanol;
                                                                            Ingredient                    Percent Range Function
      Methylparaben;
      Butylparaben;                                                       Water                             67%-87%      Solvent, Moisturizer
      Ethylparaben;                                                       Phenoxyethanol,                     1%         Preservative
                                                                          Methylparaben,
      Propy lparaben;                                                  50 Propylparaben,
      Isobutylparaben.                                                    Butylparaben,
      Examples of typical formulations found to be effective              Ethylparaben,
   appear in the ten tables that follow. Percentages are given by         Isobutylparaben
                                                                          Lysine HCL                           1%        Conditioner,   Biocide
   weight.                                                                Polyquaternium - 67                3%-7%       Conditioner,   Quaternary
                                                                       55 Polyquaternium - 72                3%-7%       Conditioner,   Quaternary
                             TABLE 1                                        Cocodimoniwn                     1%-4%       Conditioner,   Quaternary
                                                                          Hydroxypropyl
       Ingredient               Percent Range   FW1ction                  Hydrolized Keratin
                                                                          Polyquaternium - 88                1%-4%       Conditioner, Quaternary
       Water                      62%-80%       Solvent, Moisturizer      Cetyl Alcohol                    1.5%-2.5%     Thickener
       Gluconolactone,                1%        Preservative              Cetearyl Alcohol,                  1%-4%       Emulsifier
                                                                       60
       Sodiwn Benzoate                                                    Glyceryl PEG - 40
       Lysine HCL                     1%        Conditioner                 Stearate,
       Polyquatemium - 67            3%-6%      Conditioner               Ceteareth - 20
       Octoxynol - 9                 2%-5%      Surfactant                Benzalkonium Chloride           0.25%-1 %      Cationic, Quaternary, Biocide
       Polyquatemium - 72           6%-10%      Conditioner               Hydroxypropyltrimonium               1%        Conditioner, Quaternary
       Polyquatemium - 70         0.5%-1%       Conditioner               Wheat Protein
       Dipropylene Glycol                                              65 Sodium Hydroxide                .025%-.075% Neutralizing Agent
       Isocetyl Behenate             4%-6%      Emollient
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                                   7                                                                                8
                              TABLE4                                                                       TABLE 6-continued
   Ingredient               Percent Range Function                                Ingredient                  Percent Range     Function

   Water                     71%-83%         Solvent, Moisturizer                 Cetearyl Alcohol,              1%-3%          Emulsifier
   Phenoxyethanol,             1%            Preservative                    5    Glyceryl Stearate,
   Methylparaben,                                                                 PEG - 40 Stearate,
   Propylparaben,                                                                 Ceteareth - 20
   Butylparaben,                                                                  Benzalkonium Chloride       0.25%-1%          Conditioner, Quaternary,
   Ethylparaben,                                                                                                                Biocide
   Isobutylparaben
                                                                                Hydroxypropyltrimonium             1%           Conditioner, Quaternary
   Lysine HCL                    1%          Conditioner,   Biocide          10 Wheat Protein
   Polyquatemium - 67         4%-6%          Conditioner,   Quaternary
                                                                                Sodium Hydroxide              0.05%-0.75%       Neutralizing Agent
   Polyquatemium - 72         4%-6%          Conditioner,   Quaternary
   Cocodimonium               2%-4%          Conditioner,   Quaternary
   Hydroxypropyl
   Hydrolyzed Keratin
   Polyquatemum - 88           1%-3%         Conditioner, Quaternary
                                                                             15                                TABLE 7
   Cetyl Alcohol                2%           Thickener
   Cetearyl Alcohol,           1%-3.5%       Emulsifier                           Ingredient                    Percent Range     Function
   Glyceryl Stearate,
   PEG - 40 Stearate,                                                           Water                             67%-86%         Solvent, Moisturizer
                                                                                Phenoxyethanol,                      1%           Preservative
   Ceteareth - 20
                                                                                Methylparaben,
   Benzalkonium Chloride    0.25%-1%         Cationic, Quaternary, Biocide   20 Butylparaben,
   Hydroxypropyltrimonium        1%          Conditioner, Quaternary
                                                                                Ethylparaben,
   Wheat Protein                                                                Isobutylparaben
   Sodium Hydroxide         .025%-.075% Neutralizing Agent                      Lysine HCL                          1%            Conditioner,   Biocide
                                                                                Polyquatemium - 10                 1%-4%          Conditioner,   Quaternary
                                                                                Polyquatemium - 67                 1%-4%          Conditioner,   Quaternary
                                                                             25 Polyquatemium - 72               0.5%-1.5%        Conditioner,   Quaternary
                              TABLES                                            Cocodimoniwn                     0.5%-1.5%        Conditioner,   Quaternary
                                                                                Hydroxypropyl Hydrolized
   Ingredient               Percent Range Function                                Keratin
                                                                                Microcare Quat CTC 30              1%-3%          Conditioner, Quaternary
   Water                     73%-85%         Solvent, Moisturizer               Polyquaternium - 88                1%-3%          Conditioner, Quaternary
   Phenoxyethanol,               1%          Preservative                    30 Polyquaternium - 22                1%-3%          Conditioner, Quaternary
   Methylparaben,                                                               Cetyl Alcohol                      3%-5%          Thickener
   Propylparaben,                                                               Cetearyl Alcohol,                  2%-3%          Emulsifier
   Butylparaben,                                                                Glyceryl Stearate,
   Ethylparaben,                                                                PEG - 40 Stearate,
   Isobutylparaben                                                              Ceteareth - 20
   Lysine HCL                   1%           Conditioner,   Biocide             Benzalkonium Chloride           0.25%-1%          Conditioner, Quaternary,
                                                                             35
   Polyquatemium - 67         2%-3%          Conditioner,   Quaternary                                                            Biocide
   Polyquatemium - 72         4%-6%          Conditioner,   Quaternary            Hydroxypropyltrimonium             1%           Conditioner, Quaternary
   Cocodimonium               2%-4%          Conditioner,   Quaternary            Wheat Protein
   Hydroxypropyl                                                                  Sodium Hydroxide              0.05%-0.1%        Neutralizing Agent
   Hydrolyzed Keratin
   Polyquatemium - 88          1%-3%         Conditioner, Quaternary
   Cetyl Alcohol                2%           Thickener                       40
   Cetearyl Alcohol,           1%-3%         Emulsifier                                                        TABLES
   Glyceryl Stearate,
   PEG - 40 Stearate,
                                                                                  Ingredient                  Percent Range     Function
   Ceteareth - 20
   Benzalkonium Chloride    0.25%-1%         Cationic, Quaternary, Biocide      Water                           58%-74%         Solvent, Moisturizer
   Hydroxypropyltrimonium        1%          Conditioner, Quaternary         45 Phenoxyethanol,                    1%           Preservative
   Wheat Protein                                                                Methylparaben,
   Sodium Hydroxide         0.05%-0.75% Neutralizing Agent                      Propylparaben,
                                                                                Butylparaben,
                                                                                Ethylparaben,
                                                                                Isobutylparaben
                              TABLE6                                         50 Lysine HCL                         1%           Conditioner, Biocide
                                                                                Glycerin                          10%           Humectant
   Ingredient                Percent Range     Function                         Glyceryl Acetate/Acrylic           1%           Conditioner, Humectant
                                                                                Acid Copolymer
   Water                       69%-85%         Solvent, Moisturizer             Polyquaternium - 10              1%-4%          Conditioner,   Quaternary
   Phenoxyethanol,                1%           Preservative                     Polyquaternium - 67              1%-3%          Conditioner,   Quaternary
   Methylparaben,                                                            55 Polyquaternium - 72            0.5%-1.5%        Conditioner,   Quaternary
   Propylparaben,                                                                 Cocodimoniwn                 0.5%-1.5%        Conditioner,   Quaternary
   Butylparaben,                                                                Hydroxypropyl
   Ethylparaben,                                                                Hydrolyzed Keratin
   Isobutylparaben,                                                             Cetrimonium Chloride             1%-3%          Conditioner, Quaternary
   Lysine HCL                     1%           Conditioner,   Biocide           Polyquaternium - 88              1%-3%          Conditioner, Quaternary
   Polyquatemium - 10        0.25%-0.85%       Conditioner,   Quaternary        Polyquaternium - 22              1%-3%          Conditioner, Quaternary
                                                                             60
   Polyquatemium - 67         1.5%-3.5%        Conditioner,   Quaternary        Cetyl Alcohol                     4%            Thickener
   Polyquatemium - 72           4%-6%          Conditioner,   Quaternary        Cetearyl Alcohol,                2%-3%          Emulsifier
   Cetyl Alcohol                1%-3%          Thickener                        Glyceryl Stearate,
   Cocodimonium                 2%-4%          Conditioner, Quaternary          PEG - 40 Stearate,
   Hydroxypropyl                                                                Ceteareth - 20
   Hydrolyzed Keratin                                                           Polybutene                        4%            Binder
   Polyquatemium - 88           1%-3%          Conditioner, Quaternary       65 Benzalkonium Chloride         0.25%-1%          Conditioner, Quaternary,
   Polyquatemium - 22           1%-3%          Conditioner, Quaternary                                                          Biocide
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                                                                    US 8,163,802 B2
                                       9                                                                          10
                              TABLE 8-continued                                                        TABLE 10-continued

   Ingredient                    Percent Range   Function                         Ingredient                Percent Range   Function

   Hydroxypropyltrimonium             1%         Conditioner, Quaternary          Wheat Protein
                                                                             5    Sodium Hydroxide          0.05%-0.1 %     Neutralizing Agent
   Wheat Protein
   Sodium Hydroxide             .0.05%-0.1 %     Neutralizing Agent
                                                                                     All of the formulations described in TABLE 1-10 repre-
                                                                                  senting various embodiments of the Present Invention operate
                                  TABLE9                                          in the manner that was disclosed herein. The same results may
                                                                             10
                                                                                  be achieved by varying the percentages for the active and
   Ingredient                    Percent Range   Function                         inactive ingredients. Varying the percentages for the active
                                                                                  ingredients affects the potency of the formulation. Varying
   Water                           54%-73%       Solvent, Moisturizer
   Phenoxyethanol,                   1%          Preservative                     the percentages for the inactive ingredients affects the con-
   Methylparaben,                                                            15   sistency of the formulation. The desired results may be
   Propylparaben,                                                                 achieved by varying the ingredients and their amounts by
   Butylparaben,                                                                  those skilled in the art without undue experimentation.
   Ethylparaben,
   Isobutylparaben                                                                   I claim:
   Lysine HCL                         1%         Conditioner, Biocide
                                                                                     1. A method for electrostatically inhibiting harmful par-
   Glycerin                           8%         Humectant
   Glyceryl Acetate/Acrylic           1%         Conditioner, Humectant      20   ticulate matter from infecting an individual through nasal
   Acid Copolymer                                                                 inhalation wherein a formulation is applied to skin or tissue of
   Polyquaternium - 10              1%-4%        Conditioner,   Quaternary        nasal passages of the individual in a thin film, said method
   Polyquaternium - 67              1%-4%        Conditioner,   Quaternary
   Polyquaternium - 72            0.5%-2%        Conditioner,   Quaternary
                                                                                  comprising:
   Cocodimonium                   0.5%-2%        Conditioner,   Quaternary           a) electro statically attracting the particulate matter to the
   Hydroxypropyl                                                             25         thin film;
   Hydrolyzed Keratin                                                                b) holding the particulate matter in place by adjusting the
   Cetrimonium Chloride             1%-3%        Conditioner, Quaternary
   Polyquaternium - 88              1%-3%        Conditioner, Quaternary
                                                                                        adhesion of the thin film to permit said thin film to stick
   Polyquaternium - 22              1%-3%        Conditioner, Quaternary                to the skin or tissue and by adjusting the cohesion of the
   Cetyl Alcohol                     4%          Thickener                              formulation to provide adequate impermeability to the
   Cetearyl Alcohol,                2%-3%        Emulsifier                  30         thin film; and,
   Glyceryl Stearate,
   PEG - 40 Stearate,
                                                                                     c) inactivating the particulate matter by adding at least one
   Ceteareth - 20                                                                       ingredient that would render said particulate matter
   Polybutene                       3%-4%        Binder                                 harmless.
   Benzalkonium Chloride         0.25%-1 %       Conditioner, Quaternary,            2. A formulation for electrostatically inhibiting harmful
                                                 Biocide
   Hydroxypropyltrimonium             1%         Conditioner, Quaternary
                                                                             35   particulate matter from infecting an individual through nasal
   Wheat Protein                                                                  inhalation wherein the formulation is applied to skin or tissue
   Sodium Hydroxide              0.05%-0.1 %     Neutralizing Agent               of nasal passages of the individual in a thin film, said formu-
                                                                                  lation comprising at least one cationic agent and at least one
                                                                                  biocidic agent, and wherein said formulation, once applied:
                                                                             40      a) electro statically attracts the particulate matter to the thin
                                  TABLE 10
                                                                                        film;
   Ingredient                    Percent Range   Function                            b) holds the particulate matter in place by adjusting the
                                                                                        adhesion of the thin film to permit said thin film to stick
   Water                           52%-71 %      Solvent, Moisturizer
   Phenoxyethanol,                    1%         Preservative
                                                                                        to the skin or tissue and by adjusting the cohesion of the
   Methylparaben,                                                            45         formulation to provide adequate impermeability to the
   Propylparaben,                                                                       thin film; and,
   Butylparaben,                                                                     c) inactivates the particulate matter and renders said par-
   Ethylparaben,
   Isobutylparaben
                                                                                        ticulate matter harmless.
   Lysine HCL                         1%         Conditioner, Biocide                3. The formulation of claim 2 wherein the at least one
   Glycerin                           9%         Humectant                   50   cationic agent is a polymeric quaternary ammonium com-
   Glyceryl Acetate/Acrylic           1%         Conditioner, Humectant           pound.
   Acid Copolymer
   Polyquaternium - 10
                                                                                     4. The formulation of claim 3 wherein the at least one
                                    1%-3.5%      Conditioner,   Quaternary
   Polyquaternium - 67              1%-3%        Conditioner,   Quaternary        polymeric quaternary ammonium compound is taken from
   Polyquaternium - 72            0.5%-2%        Conditioner,   Quaternary        the group consisting of:
   Cocodimonium                   0.5%-2%        Conditioner,   Quaternary   55      Polyquaternium-10,
   Hydroxypropyl
   Hydrolyzed Keratin
                                                                                     Polyquaternium-22,
   Cetrimonium Chloride             1%-3%        Conditioner, Quaternary             Polyquaternium-67,
   Polyquaternium - 88              1%-3%        Conditioner, Quaternary             Polyquaternium-70,
   Polyquaternium - 22              1%-3%        Conditioner, Quaternary             Polyquaternium-72, and
   Cetyl Alcohol                     4%          Thickener
   Cetearyl Alcohol,                1%-4%        Emulsifier
                                                                             60      Polyquaternium-88.
   Glyceryl Stearate,                                                                5. The formulation of claim 2 wherein the at least one
   PEG - 40 Stearate,                                                             cationic agent is Cocodimonium Hydroxypropyl Hydrolyzed
   Ceteareth - 20                                                                 Keratin or Hydroxypropyltrimonium Wheat Protein.
   Polybutene                       5%-6%        Binder
                                                                                     6. The formulation of claim 2 wherein the at least one
   Benzalkonium Chloride         0.25%-1 %       Conditioner, Quaternary,
                                                 Biocide                     65   cationic agent is Benzalkonium Chloride.
   Hydroxypropyltrimonium             1%         Conditioner, Quaternary             7. The formulation of claim 2 wherein the at least one
                                                                                  biocidic agent is Benzalkonium Chloride or Lysine HCL.
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                                                         US 8,163,802 B2
                                 11                                                                     12
     8. A formulation for electrostatically inhibiting harmful                17. The formulation of claim 13 further comprising an
   particulate matter from infecting an individual through nasal           emollient.
   inhalation wherein the formulation is applied to skin or tissue            18. The formulation of claim 13 further comprising a
   of nasal passages of the individual in a thin film, said formu-         humectant.
   lation comprising:                                                         19. The formulation of claim 13 further comprising a
      a) at least one biocidic agent, and                                  binder.
      b) at least one quaternary thickener.                                   20. The formulation of claim 13 wherein the preservative is
      9. The formulation of claim 8 wherein the at least one               taken from the group consisting of:
   biocidic agent is Benzalkonium Chloride or Lysine HCL.                     Phenoxyethanol,
                                                                      10      Methylparaben,
      10. The formulation of claim 8 wherein the at least one
                                                                              Butylparaben,
   quaternary thickener is taken from the group consisting of:
                                                                              Ethylparaben, and
      Polyquaternium-10,
                                                                              Isobutylparaben.
      Polyquaternium-22,                                                      21. The formulation of claim 13 wherein the emulsifier is
      Polyquaternium-67,                                              15   taken from the group consisting of:
      Polyquaternium-70,                                                      Cetyl Alcohol,
      Polyquaternium-72, and                                                  Cetearyl Alcohol,
      Polyquaternium-88.                                                      Glyceryl Stearate,
      11. The formulation of claim 8 wherein the at least one                 Ceteareth-20,
   cationic agent is Cocodimonium Hydroxypropyl Hydrolyzed            20      PEG-40 Stearate,
   Keratin or Hydroxypropyltrimonium Wheat Protein.                           Dicetyl Phosphate,
      12. The formulation of claim 8 wherein the at least one                 Ceteth-10 Phosphate.
   cationic agent is Benzalkonium Chloride.                                   22. The formulation of claim 16 wherein the thickener is
      13. The formulation of claim 8 further comprising:                   Cetyl Alcohol or Stearyl Alcohol.
      a) water,                                                       25      23. The formulation of claim 13 wherein:
      b) a preservative,                                                      a) the amount of water ranges from 54% to 90% by weight
      c) a conditioner, and                                                   b) the amount of the quaternary thickener ranges from
      d) an emulsifier.                                                          0.5% to 5.0% by weight,
      14. The formulation of claim 13 further comprising a neu-               c) the amount ofbiocidic agent ranges from 0.25% to 2%
   tralizing agent added to adjust a pH in the range of 5.0 to 6.8.   30         by weight,
      15. The formulation of claim 13 further comprising a sur-               d) the amount of emulsifier ranges from 0.5% to 4% by
   factant.                                                                      weight.
      16. The formulation of claim 13 further comprising a thick-
   ener.                                                                                         * * * * *
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                          EXHIBIT D
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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                                                                                                       Bringing Nanoscience to Life


                                                                      Company            NanoBio® Protect   NanoVax® Platform   News




        NanoBio® Protect Nasal Antiseptic Solution




        NanoBio® Protect is an alcohol-free nasal
        antiseptic solution that can be used to
        help reduce germs on skin that can cause
        infections. The product is easy to apply
        with any cotton swab for use on the skin
        around the rim of your nose as well as the
        skin up to one-half inch inside each nostril.
        It is non-irritating, fragrance-free and
        leaves no residue after application.

        NanoBio® Protect is an FDA regulated
        over-the-counter skin antiseptic that
        incorporates the active ingredient
        benzalkonium chloride (BZK), which has
        been used in humans as a topical skin
        antiseptic since the 1940’s. NanoBio®
        Protect is similar in concept to a hand sanitizer but is designed for use on the skin inside and around the
        nose where germs frequently enter the body.



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BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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        The unique effectiveness of NanoBio® Protectis derived from BlueWillow’s patented nanotechnology.
        NanoBio® Protect places the BZK antiseptic on the surface of nano-droplets, which results in at least four key
        advantages:

            1. The nano-droplets are attracted to germs by electro-kinetic charge and present the BZK in such a way
                to enable killing of germs on contact,
            2. The droplets persist on skin for 4 or more hours, enabling long-lasting effectiveness,
            3. The droplets significantly hydrate skin to avoid dryness and cracking that can allow germs in.
            4. And lastly, when bound to nano-droplets, BZK is non-irritating to the skin.

        NanoBio® Protect kills
        germs via membrane
        disruption. NanoBio®
        Protect is comprised of
        positively charged
        droplets that are 300–
        600nm in size. The
        droplets are attracted
        to negatively charged
        germs in the skin. As
        shown to the right, the
        nano-droplets
        physically disrupt the outer membrane of germs, killing on contact.

        NanoBio® Protect is applied by thoroughly swabbing the skin up to one-half inch inside of each nostril and is
        recommended for use to help reduce germs on the skin in and around the nose that can cause infections. It
        should be used in conjunction with frequent handwashing, limited touching of the face, and social
        distancing to help minimize infection. Each 0.75 oz bottle of NanoBio® Protect will provide 40 or more
        treatments. A single application should involve the use of two swabs, including one for each nostril, or the
        use of a double-sided swab.

        The product can be applied to the skin every 4–8 hours as needed, and is recommended for use during
        periods of increased risk of exposure to germs. For example, a healthcare worker might apply NanoBio®
        Protect two or more times a day. A flight attendant might apply the product 1–2 times during a long flight.
        Whereas, someone that is mostly staying at home in isolation may only need to apply it once a day or every
        few days prior to heading to the store or to an appointment.

        Scientific Research Behind NanoBio® Protect
        BlueWillow’s
        nasal
        antiseptic


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BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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        has not
        been
        clinically
        tested to
        confirm
        protection
        against
        COVID-19
        infection in
        humans. It
        has




        demonstrated both anti-bacterial and anti-viral activity in laboratory tests making it a potentially important
        additive measure to reduce the risk of infection

        Standard in vitro lab experiments demonstrate that NanoBio® Protect kills more than 99.99% of germs within
        60 seconds of exposure, as shown in the graph to the right.

        Recent studies conducted by Public Health England also demonstrate NanoBio® Protect’s ability to kill
        COVID-19 virus in laboratory tests. However, as stated above, studies to test for protection in humans have
        not yet been performed.

        In addition, ex vivo tests in human skin (Figure A below) demonstrate that NanoBio® Protect persists on skin
        up to 7x better than commercial products and aqueous solutions containing the same BZK antiseptic agent.
        In vivo studies conducted in human volunteers (Figure B below) demonstrate that a single application of
        NanoBio® Protect significantly increases skin hydration for at least 3 hours, as compared to common hand
        sanitizer products:




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        Safety
        NanoBio® Protect and similar NanoBio® formulations have been tested extensively in animal and human
        studies involving topical application to skin. These studies demonstrate that topical NanoBio® products are
        non-irritating and are not absorbed systemically. The products are alcohol-free and are comprised of
        nanodroplets that have been optimized to provide significant advantages when used as topical antiseptic
        products, without being absorbed through the skin and into the bloodstream.

        NanoBio® Protect’s active ingredient is 0.13% benzalkonium chloride, which is regulated by the FDA as a skin
        antiseptic and has been used in humans for over 75 years. Unlike alcohol-based products, NanoBio® Protect
        does not irritate or dry out the skin, and instead provides a moisturizing and comforting experience. The
        product should be applied with any cotton swab to the skin around the nose and up to one-half inch inside
        of each nostril where germs frequently enter the body.

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BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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        Peer-Reviewed Scientific Publications
        Other scientific publications describe the extensive research conducted with topical NanoBio formulations,
        as listed below:

            “A Nanoemulsion as an Effective Treatment Against Human Pathogenic Fungi”. Therapeutics and Prevention.
            2019, Nov/Dec 4:6
            “Screening of Nanoemulsion Formulations and Identification of NB-201 as an Effective Topical Antimicrobial
            for Staphylococcus aureus in a Mouse Model of Infected Wounds”. Military Medicine. 2016, May: 181, 5S:259-
            264
            “Nanoemulsion Therapy for Burn Wounds Is Effective as a Topical Antimicrobial Against Gram-Negative and
            Gram-Positive Bacteria”. Burn Care Res. 2016, March /April: 37(2); 104-114
            “Treatment With a Novel Topical Nanoemulsion (NB-001) Speeds Time to Healing of Recurrent Cold Sores”.
            Drugs Dermatol. 2012 Aug; 11(8):970-7
            “In Vitro Antibacterial Activity of NB-003 against Propionibacterium acnes”. Antimicrobial Agents And
            Chemotherapy, Sept. 2011,Vol. 55, No. 9, p. 4211–4217
            “Topical Nanoemulsion Therapy Reduces Bacterial Wound Infection And Inflammation After Burn Injury”.
            Surgery. 2010
            “NB-002, A Novel Nanoemulsion With Broad Antifungal Activity Against Dermatophytes, Other Filamentous
            Fungi, And Candida Albicans”. Antimicrobial Agents And Chemotherapy, Aug. 2009, Vol. 53, No. 8, p. 3273–
            3279
            “In Vitro Activities of a Novel Nanoemulsion against Burkholderia and Other Multidrug-Resistant Cystic
            Fibrosis-Associated Bacterial Species”. Antimicrobial Agents And Chemotherapy, Jan. 2009, Vol. 53, No. 1, p.
            249–255
            “The Fungicidal Activity Of Novel Nanoemulsion (X8W60PC) Against Clinically Important Yeast And
            Filamentous Fungi”. Mycopathologia 155: 195–201, 2001
            “A Novel Surfactant Nanoemulsion With A Unique Non-Irritant Topical Antimicrobial Activity Against
            Bacteria, Enveloped Viruses And Fungi”. Microbiol. Res. (200I) 156, I-7
            “Inactivation Of Ebola Virus With A Surfactant Nanoemulsion”. Acta Tropica 87 (2003) 315/320
            “Antimicrobial Mechanism Of Action Of Surfactant Lipid Preparations In Enteric Gram-Negative Bacilli”.
            Journal of Applied Microbiology 2000, 89, 397-403
            “Prevention of Murine Influenza A Virus Pneumonitis by Surfactant Nano-emulsions”. Antiviral Chemistry &
            Chemotherapy, 2000, 11:41-49
            “A Novel Surfactant Nanoemulsion with Broad-Spectrum Sporicidal Activity Against Bacillus Species”. The
            Journal of Infectious Diseases, 1999, 180:1939–49




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BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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        BlueWillow Biologics
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                          EXHIBIT E
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